       Case 3:23-cv-06003-WHO Document 51-1 Filed 02/29/24 Page 1 of 12



 1                                              EXHIBIT A
 2   Drew C. Ensign (SBN 243956)
     HOLTZMAN VOGEL BARAN
 3   TORCHINSKY & JOSEFIAK PLLC
     2575 East Camelback Rd, Ste 860
 4   Phoenix, AZ 85016
     602-388-1262 (P)
 5   densign@holtzmanvogel.com
 6   Counsel for the State of Montana
 7
 8
                                UNITED STATES DISTRICT COURT
 9                            NORTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION
10
11   SECURITIES AND EXCHANGE                          Case No.: 3:23-cv-06003-WHO
     COMMISSION,
12                                                    BRIEF OF AMICUS CURIAE
                                                      STATE OF MONTANA SUPPORTED
                                  Plaintiff,          BY SEVEN OTHER STATES IN
13
                                                      SUPPORT OF NEITHER PARTY
14   PAYWARD, INC.; PAYWARD VENTURES,
     INC.,
15                                                    Honorable William H. Orrick III
                                  Defendants.
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                             Case No. No. 3:23-cv-06003-WHO
            BRIEF OF AMICUS CURIAE STATE OF MONTANA IN SUPPORT OF NEITHER PARTY
         Case 3:23-cv-06003-WHO Document 51-1 Filed 02/29/24 Page 2 of 12



 1                                  INTEREST OF AMICUS CURIAE
 2          The State of Montana, supported by seven additional States whose support is noted below
 3   after the signature block, submits this amicus brief pursuant to the court’s order dated January 18,
 4   2024. This amicus is in support of neither party because the State of Montana takes no position as
 5   to the conduct or business practices of Payward, Inc. and Payward Ventures, Inc. (collectively,
 6   “Payward”), but it opposes the Securities and Exchange Commission’s (“SEC”) regulation of crypto
 7   assets absent an investment contract because Congress has not delegated this authority to the SEC.1
 8          States have a strong interest in preventing the potential preemption of consumer protection
 9   and other state laws by the SEC’s attempt to regulate crypto assets as securities. See, e.g., Gary
10   Gensler, SEC Chair, Statement on the Approval of SpotBitcoin Exchange-Traded Products (Jan. 10,
11   2024) (stating that the “vast majority of crypto assets are investment contracts and thus subject to
12   the federal securities laws.”).2 The SEC’s exercise of this undelegated authority puts consumers at
13   risk by potentially preempting state statutes better tailored to the specific risks of non-securities
14   products. Some state laws are more protective of consumers than the federal securities laws.
15          The SEC has described crypto assets as shares in a collective “ecosystem.” Mtn. to Dismiss,
16   Dkt. 25 at 23-25 (citing SEC statements in Coinbase and Binance oral arguments). The States have
17   been at the forefront of using their enforcement authority to protect consumers in the area of
18   technology ecosystems. See, e.g., Utah v. Google LLC, No. 3:21-cv-05227JD (N.D. Cal.) (action
19   challenging anticompetitive practices in the Google play store); Texas v. Google LLC, No. 4:20-cv-

20   00957-SDJ (E.D. Tex) (action challenging anticompetitive practices in the ad tech industry). The
21   States are committed to protecting consumers in diverse technology ecosystems and have a
22   significant interest in the potential preemption of state laws that would impact those efforts.

23                                              ARGUMENT

24   The SEC’s Enforcement Action Exceeds its Delegated Powers.

25          The SEC filed its complaint against Payward, a secondary market platform, alleging violations

26   of the Exchange Act. See Compl., Dkt. 1 ¶¶ 447, 450, 453. The SEC’s enforcement action is based

27   1
       “Crypto asset” refers to “an asset issued and/or transferred using blockchain or distributed ledger
28   technology.” See Mtn. to Dismiss, Dkt. 25 at 4 n.2.
     2
       Available at https://www.sec.gov/news/statement/gensler-statement-spot-bitcoin-011023.

                                              -1-             Case No. No. 3:23-cv-06003-WHO
              BRIEF OF AMICUS CURIAE STATE OF MONTANA IN SUPPORT OF NEITHER PARTY
       Case 3:23-cv-06003-WHO Document 51-1 Filed 02/29/24 Page 3 of 12



 1   on the premise that “many of the crypto assets” bought and sold through Payward are “investment
 2   contracts” subject to the laws and regulations governing the U.S. securities market. Id. ¶ 14. But

 3   crypto assets are not automatically securities. The SEC’s overly broad interpretation of investment

 4   contract means that the SEC is exceeding its authority by attempting to regulate non-securities.

 5          A.      State-law cases inform the definition of “investment contract.”

 6          The Securities Act of 1933 and the Exchange Act of 1934 define “security” based on an

 7   enumerated list including “investment contract,” among other “instrument[s] commonly known as a

 8   ‘security.’” 15 U.S.C. § 77b(a)(1); 15 U.S.C. § 78c(a)(10). The Supreme Court set forth a test for

 9   determining whether an instrument qualifies as an investment contract in S.E.C. v. W.J. Howey Co.,

10   328 U.S. 293, 298-301 (1946). Howey established a three-part test requiring: “(1) an investment of

11   money (2) in a common enterprise (3) with an expectation of profits produced by the efforts of

12   others.” Warfield v. Alaniz, 569 F.3d 1015, 1020 (9th Cir. 2009) (quoting SEC v. Rubera, 350 F.3d

13   1084, 1090 (9th Cir. 2003)). The third prong of this test requires both an “expectation of profit” and

14   that “expected profits are the product of the efforts of a person other than the investor.” Id.

15          The Supreme Court held that Congress, in adopting this test, incorporated the “common” and

16   “uniformly applied” understanding of “investment contract,” which had been “crystallized” through

17   state cases. Howey, 328 U.S. at 298; see also SEC v. Edwards, 540 U.S. 389, 393 (2004). As the Court

18   noted, the term was “common in many state ‘blue sky’ laws in existence prior to the adoption of the

19   federal statute and, although the term was also undefined by the state laws, it had been broadly

20   construed by state courts so as to afford the investing public a full measure of protection.” Howey,

21   328 U.S. at 298 (emphasis added). Widely adopted in over 33 states, blue sky laws addressed

22   “speculative schemes having no more basis than so many feet of blue sky” such as shares in

23   “nonexistent gold mines.” State v. Gopher Tire & Rubber Co., 177 N.W. 937, 938 (Minn. 1920). But

24   these laws were not designed as general-purpose consumer protection laws.

25          One such blue sky law included a registration requirement that applied to “stocks, bonds,

26   investment contracts, or other securities.” Minn. Laws 1917, ch. 429 § 3, as amended by Minn. Laws

27   1919, ch. 105, 257. In a leading case, Gopher Tire, the Minnesota Supreme Court found certificates

28   to be “investment contracts” where the certificates were “contracts” that “induce[d]” an “investment”

                                              -2-             Case No. No. 3:23-cv-06003-WHO
              BRIEF OF AMICUS CURIAE STATE OF MONTANA IN SUPPORT OF NEITHER PARTY
       Case 3:23-cv-06003-WHO Document 51-1 Filed 02/29/24 Page 4 of 12



 1   by “promis[ing] a share in defendant’s profits,” which the investor received in exchange for that
 2   investment. 177 N.W. at 938. The court interpreted “investment contract” to involve an “investment”

 3   as that term was “commonly used and understood”: “placing of capital or laying out of money in a

 4   way intended to secure income or profit from its employment.” Id. (emphasis added).

 5          Applying a similar analysis to Gopher Tire, Kentucky’s highest court held in Lewis v. Creasey

 6   Corp. that an offer by a grocery wholesaler to local stores to pay $300 for the right to buy groceries

 7   for only five percent above cost was not a “contract” within the meaning of the securities law. 248

 8   S.W. 1046, 1049 (Ky. 1923). The court reasoned that the wholesaler had not “promised” to give the

 9   participants in the deal any part of his future profits. Id. As with Gopher Tire, the court’s analysis was

10   driven by the fundamental conclusion that the legislature acted to cover the essential attributes of a

11   security, and not enact a general-purpose consumer protection law. Id. at 1048. Blue sky laws

12   protected investors expecting profits from a business or enterprise—they were not designed to protect

13   consumers who purchased an asset anticipating that it would increase in value.

14          Because the Supreme Court in Howey interpreted “investment contract” to encompass the

15   meaning of that term as “crystallized” by the blue-sky law cases, the limitations recognized in those

16   cases should inform the interpretation here. 328 U.S. at 298. “Investment contracts” under the

17   Securities Act and the Exchange Act are not meant to serve as general consumer protection statutes

18   covering all asset purchases. See Wals v. Fox Hills Dev. Corp., 24 F.3d 1016, 1018-19 (7th Cir. 1994)

19   (“The statutory language … suggests that the term ‘investment contract’ has the limited purpose of

20   identifying unconventional instruments that have the essential properties of a debt or equity

21   security.”). The SEC’s interpretation, however, ignores these limitations and seeks to apply

22   “investment contract” to assets that do not meet the Howey definition.

23          B.      The SEC wrongly expands the definition of “investment contract” in this

24                  enforcement action to any asset that could increase in value.

25          The SEC’s theory functions as a regulatory power grab through an expansive interpretation of

26   “investment contract” that would encompass many non-securities transactions. Howey’s three-part

27   test requires: “(1) an investment of money (2) in a common enterprise (3) with an expectation of

28   profits produced by the efforts of others.” Warfield, 569 F.3d at 1020.

                                              -3-             Case No. No. 3:23-cv-06003-WHO
              BRIEF OF AMICUS CURIAE STATE OF MONTANA IN SUPPORT OF NEITHER PARTY
       Case 3:23-cv-06003-WHO Document 51-1 Filed 02/29/24 Page 5 of 12



 1          The test for “investment contract” is not met, without more, for crypto assets sold on a
 2   secondary market platform for multiple reasons. To begin, there is no contract or series of contracts

 3   for the issuer of the crypto asset to provide post-sale value to the buyer of such asset. As the Motion

 4   to Dismiss explains, the SEC has not alleged any contractual relationship between the 11 issuers and

 5   the persons who buy the crypto assets on the secondary market platform. Dkt. 25 at 1. The SEC also

 6   has not alleged that crypto asset buyers using Payward’s platform had an expectation in the income,

 7   profits, or assets of any business. Instead, the SEC alleges that crypto purchasers had an expectation

 8   of increased “demand for and value of” their crypto assets based on the “managerial efforts” of the

 9   blockchain networks with which the crypto assets are associated. See, e.g., Compl. ¶¶ 235, 237.

10          In other words, the SEC’s theory is that purchasers who bought crypto assets on the Payward

11   exchange expected that the value of those crypto assets would increase because the blockchain

12   networks would continue to develop and “attract users to the technology.” Compl. ¶ 236. But there is

13   simply no continuing obligation by the issuers alleged here. The SEC is thus asking courts to find an

14   “investment contract” under Howey in the absence of either a common enterprise or any contract with

15   continuing obligations. Cf. Milnarik v. M-S Commodities, Inc., 457 F.2d 274, 276 (7th Cir. 1972)

16   (“Judicial analyses of the question whether particular investment contracts are ‘securities’ within the

17   statutory definition have repeatedly stressed the significance of finding a common enterprise.”).

18   Instead, SEC’s theory is based merely on the voluntary maintenance of the blockchain networks and

19   purchasers’ hopes that the value of the crypto assets they purchased on the secondary market will

20   increase. See, e.g., Noa v. Key Futures, Inc., 638 F.2d 77, 79 (9th Cir. 1980) (finding agreement to

21   sell silver bars were not “investment contracts” because after the sale “the profits to the investor

22   depended upon the fluctuations of the silver market, not the managerial efforts of Key Futures”).

23          Such an expansive view would turn ordinary baseball card collectors into securities investors

24   and third-party sellers of baseball cards into securities exchanges. A baseball card collector purchases

25   cards in the hope that such cards will increase in value. The value of her card collection is dependent—

26   like the blockchain networks attracting new users—on the viability of the card market and the card

27   issuer’s ability to attract new collectors. But the card collector has no continuing contractual

28   relationship with either the card issuer or the seller of the card, and certainly no expectation of sharing

                                              -4-             Case No. No. 3:23-cv-06003-WHO
              BRIEF OF AMICUS CURIAE STATE OF MONTANA IN SUPPORT OF NEITHER PARTY
         Case 3:23-cv-06003-WHO Document 51-1 Filed 02/29/24 Page 6 of 12



 1   the card issuer’s profits. Consumer protection laws apply, but securities laws do not.
 2          Lewis v. Creasey Corp., discussed above, is also instructive. There, a grocery wholesaler

 3   permitted local stores to pay $300 for the right to buy groceries for only five percent above cost. 248

 4   S.W. at 1049. The local stores depended on the wholesaler for inventory and thus would expect their

 5   own profits to turn on the wholesaler’s sound managerial efforts. But that did not create an investment

 6   contract. As Kentucky’s highest court explained, “[i]n one sense of the word every contract is an

 7   investment by the parties thereto.” Lewis, 248 S.W. at 1049. But an “investment contract” for

 8   purposes of blue sky laws, and consequently the Exchange and Securities Act, does not encompass

 9   all contracts. Lewis, 248 S.W. at 1049. The wholesaler’s offer was not an “investment contract”

10   because he had not “promised” to give the local stores any part of his future profits. Id. Similarly,

11   even if the crypto purchasers depend on the sound management of the blockchain networks for the

12   increased value of their crypto assets, the purchasers do not expect a share of the blockchain networks’

13   profits. Instead, they are simply the holders of an asset; therefore, purchase of the crypto assets on the

14   secondary market platform are not investment contracts.

15          There are multiple reasons why someone might purchase an asset with hopes that its value or

16   market price will go up in the future. This could include rarity (like art or any other collector’s item),

17   network effects (which are common in technology), or economies of scale causing prices for services

18   associated with the good to go down. But this does not turn the purchase of such an asset into an

19   investment contract. The SEC’s expansive interpretation of “investment contract” would mean that

20   Congress somehow intended the SEC to function as a general-purpose consumer protection regulator

21   for any crypto asset where purchasers hope the value will increase. That simply is not the case, and

22   this over-reach will become increasingly problematic as the crypto-asset economy expands.

23          C.      The SEC’s overly broad interpretation of “investment contract” and claimed

24                  authority over crypto assets squarely implicates the major questions doctrine.

25          The who and what of regulating crypto assets is the subject of fierce debate.3 And without a

26   clear answer from Congress, the SEC has appointed itself crypto regulator. When a federal

27   3
      Soumen Datta, SEC v. CFTC: Inside the Battle for Control of the Crypto Landscape, BSC News
28   (May 16, 2023), available at, https://www.bsc.news/post/sec-vs-cftc-inside-the-battle-for-control-
     of-the-crypto-landscape.

                                              -5-             Case No. No. 3:23-cv-06003-WHO
              BRIEF OF AMICUS CURIAE STATE OF MONTANA IN SUPPORT OF NEITHER PARTY
         Case 3:23-cv-06003-WHO Document 51-1 Filed 02/29/24 Page 7 of 12



 1   administrative agency attempts to exercise new authority over an area of great economic or political
 2   significance, it requires “clear congressional authorization.” See W. Va. v. EPA, 142 S. Ct. 2587,

 3   2608-09 (2022). Under the major questions doctrine, courts “presume that Congress intends to make

 4   major policy decisions itself, not leave those decisions to agencies.” Id. (internal quotations omitted).

 5   The doctrine protects important constitutional principles including “self-government, equality, fair

 6   notice, federalism, and the separation of powers.” Id. at 2621 (Gorsuch, J., concurring). Here, the

 7   major questions doctrine forecloses the SEC’s expansive view of its authority to regulate crypto assets

 8   in the absence of congressional legislation.

 9          First, the SEC’s regulation of crypto assets is economically and politically significant. The

10   crypto asset industry has grown by some estimates to a total value of almost $2 trillion dollars, and

11   the total estimated value of Bitcoin alone is over $1 trillion.4 Moreover, one in five Americans has

12   invested in, traded, or used cryptocurrency.5 The SEC claims that Payward unlawfully failed to

13   register as an exchange, broker, dealer, or clearing house based on the agency’s interpretation that

14   crypto assets qualify as securities. See Compl. ¶¶ 446-454. If permitted to regulate based on the SEC’s

15   expansive view of “investment contract,” the SEC’s reach would extend broadly across the industry

16   and result in significant economic effects given the regulatory costs to industry participants. The

17   SEC’s claim of authority is also politically significant. Congress has considered dozens of legislative

18   proposals about cryptocurrency, including whether crypto assets should be treated as securities

19   regulated by the SEC or commodities regulated by the Commodity Futures Trading Commission.6

20          Second, regulation of crypto assets departs from the SEC’s historical regulation. In applying

21   the major questions doctrine, courts look at an agency’s history of regulation and the implications of

22   the power it is claiming for itself. See Alabama Ass’n of Realtors v. Dep’t of Health & Hum. Servs.,

23   4
       See Shayak Majumder, Cryptocurrency Price Today: Cryptocurrency Price Today: Bitcoin
24   Remains Stable, Ethereum Slowly Approaches $3,000, ABP News Live (Feb. 23, 2024), available
     at https://news.abplive.com/business/crypto/crypto-price-today-february-23-check-global-market-
25   cap-bitcoin-btc-ethereum-doge-solana-litecoin-axl-imx-live-tv-1666696; Bitcoin Market Cap,
     available at https://ycharts.com/indicators/bitcoin_market_cap (last visited Feb. 22, 2024).
     5
26     Thomas Franck, One in 5 Adults Has Invested In, Traded or Used Cryptocurrency, NBC News
     Poll Shows, NBC News (March 31, 2022), available at https://www.nbcnews.com/tech/tech-
27   news/one-five-adults-invested-traded-used-cryptocurrency-nbc-news-poll-show-rcna22380.
     6
       See Jason Brett, Congress Creates a Storm of Crypto Legislation, Forbes (Aug. 3, 2023),
28   https://www.forbes.com/sites/jasonbrett/2023/08/03/congress-creates-a-storm-of-crypto-
     legislation/?sh=5d477f093aa4.

                                              -6-             Case No. No. 3:23-cv-06003-WHO
              BRIEF OF AMICUS CURIAE STATE OF MONTANA IN SUPPORT OF NEITHER PARTY
         Case 3:23-cv-06003-WHO Document 51-1 Filed 02/29/24 Page 8 of 12



 1   141 S. Ct. 2485, 2489 (2021). The enforcement action in this suit contradicts SEC Chair Gary
 2   Gensler’s testimony in 2021 regarding crypto asset regulation: “exchanges trading in these crypto

 3   assets do not have a regulatory framework either at the SEC, or our sister agency, the Commodity

 4   Futures Trading Commission.”7 And, as described above, expanding “investment contract” to

 5   purchases of assets without a contract for the issuer of the crypto asset to provide post-sale value to

 6   the buyer of such asset departs from historical practice. See Dkt. 25 at 10-11 (citing Brief for the SEC

 7   at *17, SEC v. Edwards, No. 02-1196 (U.S. June 26, 2003), 2003 WL 21498455 (“The second word

 8   in [investment contract] means an agreement between two or more persons to do or forbear

 9   something.”) (cleaned up); Brief for the SEC at *9, SEC v. Howey, No. 843 (U.S. April 17, 1946),

10   1946 WL 50582 (an “investment contract” includes “any contractual arrangement for the investment

11   of money in an enterprise with the expectation of deriving profit through the efforts of the

12   promoters”)). Under the major questions doctrine, the SEC has failed to show clear congressional

13   authorization to regulate crypto assets absent an “investment contract.”

14          D. The federalism canon shuts down the SEC’s expansive view of “investment

15              contract” because it potentially preempts important state laws.

16          Like the major questions doctrine, the federalism canon also forecloses the SEC’s

17   interpretation of “investment contract” because it would upend the traditional division of powers

18   between the States and the federal government. Courts do not assume that Congress exercises lightly

19   its “extraordinary power” to preempt state law. Gregory v. Ashcroft, 501 U.S. 452, 460 (1991).

20   Instead, “if Congress intends to alter the usual constitutional balance between the States and the

21   Federal Government, it must make its intention to do so unmistakably clear in the language of the

22   statute.” Id. (emphasis added) (cleaned up). The SEC’s interpretation here would preempt areas of

23   law traditionally regulated by states such as consumer protection. The court should reject the SEC’s

24   expansive view of “investment contract” under the federalism canon.

25   7
       Game Stopped? Who Wins and Loses When Short Sellers, Social Media, and Retail Investors
26   Collide, Part III, Hr’g Before the U.S. H. Fin. Servs. Comm., 117th Cong. 12 (May 6, 2021)
     (statement of SEC Chair Gary Gensler), https://tinyurl.com/mtrnkbn2; see also Dkt. 25 at 5 n.11
27   (citing Hester M. Peirce, Comm’r, SEC, Outdated: Remarks Before the Digital Assets at Duke
     Conference (Jan. 20, 2023), https://tinyurl.com/47cypbvt (“[I]f we seriously grappled with the legal
28   analysis and our statutory authority, . . . we would have to admit that we likely need . . . more
     clearly delineated, statutory authority . . . to require crypto trading platforms to register with us.”)).

                                              -7-             Case No. No. 3:23-cv-06003-WHO
              BRIEF OF AMICUS CURIAE STATE OF MONTANA IN SUPPORT OF NEITHER PARTY
         Case 3:23-cv-06003-WHO Document 51-1 Filed 02/29/24 Page 9 of 12



 1                   1. The SEC’s position could preempt important state consumer protection laws.
 2          The SEC’s actions seek to radically expand its authority into areas of traditional state

 3   regulation and other fields of law such as general consumer protection, which could preempt state

 4   laws that are more protective of consumers than the securities laws. The National Securities Markets

 5   Improvement Act of 1996 (“NSMIA”) preempts states from applying their own registration and

 6   qualification requirements to securities offerings and transactions in NSMIA-covered “securit[ies].”

 7   This includes security offerings by issuers traded on national securities exchanges. 15 U.S.C. § 77r(a).

 8   The definition of “sale” and “offer,” see 15 U.S.C. § 77b(a)(3), can include secondary market

 9   transactions as well. S.E.C. v. Ripple Labs, Inc., No. 20 CIV. 10832 (AT), 2023 WL 4507900, at *11

10   n.16 (S.D.N.Y. July 13, 2023) (collecting authorities). The NSMIA’s language is broad, providing

11   that states may not “directly or indirectly prohibit, limit, or impose conditions, based on the merits of

12   such offering or issuer, upon the offer or sale of any [covered] security. . . .” 15 U.S.C. § 77r(a)(3).

13          The NSMIA contains an exception to preemption, but it is limited to states enforcing their

14   laws related to “fraud or deceit.” 15 U.S.C. § 77r(c)(1)(A). Many state regulations are far more

15   nuanced than these two categories, or they are expressly designed to provide substantive oversight

16   and protections for consumers. As of 2018, thirty-eight states and the District of Columbia had

17   prohibitions against “unfair” acts and practices in their consumer protection laws.8 For example, the

18   Montana Consumer Protection Act prohibits “[u]nfair methods of competition and unfair or deceptive

19   acts or practices in the conduct of any trade or commerce.” Mont. Code § 30-14-103. These are

20   important protections for consumers that do not require conduct to be deceptive to be actionable. The

21   SEC’s treatment of crypto assets as securities absent an investment contract could potentially preempt

22   important state law protections for consumers related to crypto assets that the securities laws do not

23   provide.

24          The Ninth Circuit Myers v. Merrill Lynch & Co. case illustrates the potential preemptive

25   effect. 249 F.3d 1087 (9th Cir. 2001). In Myers, the court affirmed dismissal of the plaintiff’s state

26   law claims challenging “penalty bids” and similar restrictions imposed by brokers to discourage

27   8
      See, e.g., National Consumer Law Center, Consumer Protection in the States: A 50-State
28   Evaluation of Unfair and Deceptive Practices Laws (March 2018), available at
     https://filearchive.nclc.org/udap/udap-report.pdf.

                                                -8-             Case No. No. 3:23-cv-06003-WHO
                BRIEF OF AMICUS CURIAE STATE OF MONTANA IN SUPPORT OF NEITHER PARTY
         Case 3:23-cv-06003-WHO Document 51-1 Filed 02/29/24 Page 10 of 12



 1   potential purchasers of stock in public offerings from quickly reselling their shares to turn a quick
 2   profit. Id. at 1088. The Ninth Circuit adopted the district court’s reasoning that the plaintiff’s claims

 3   under California’s unfair and deceptive acts and practices law were preempted by federal regulation

 4   of securities transactions. Id. The district court reasoned that although the NSMIA provided an

 5   exception from preemption for state claims involving fraud or deceit, “the SEC has exercised its

 6   congressionally delegated rulemaking authority to craft a regulatory scheme, i.e., Regulation M, to

 7   deal with these practices and protect investors from fraudulent or misleading conduct associated with

 8   the use of penalty bids.” Myers v. Merrill Lynch & Co., No. C-98-3532 WHO, 1999 WL 696082, at

 9   *9-10 (N.D. Cal. Aug. 23, 1999), aff’d, 249 F.3d 1087.

10           Myers demonstrates the potential preemptive effect of federal securities law on state laws that

11   may be more protective of consumers and are passed through democratic processes that are closer

12   and more accountable to the people of the various states.9 It was undisputed in Myers that the

13   purchased shares were “securities” under federal law where Congress had made a policy decision to

14   delegate authority to an unelected regulatory body to preempt state law. But for crypto assets without

15   an investment contract, Congress has made no such decision. Erroneously characterizing these crypto

16   assets as securities therefore potentially leads to preemption that Congress never approved.

17                  2. Several state laws regulating crypto assets could also be preempted.

18           The SEC’s attempted preemption of crypto assets also stymies state legislative

19   experimentation in this area. Courts have “long recognized the role of the States as laboratories for

20   devising solutions to difficult legal problems.” Oregon v. Ice, 555 U.S. 160, 171 (2009). But

21   federalism—and its byproduct of legislative variation from the state laboratories of democracy—is

22   defeated when federal agencies act without authority to preempt state legislation. States have already

23   acted to regulate crypto assets and will presumably continue to legislate as new issues present

24   themselves. The SEC’s regulation of crypto assets absent an investment contract unlawfully deprives

25   the States of their police power and limits legal innovation and tailoring in this emerging area.

26   9
       Treating crypto assets as securities would also force private claimants into the framework of Rule
27   10b-5, which requires several elements before a plaintiff can prevail. For example, a plaintiff must
     allege a false or misleading statement or omission by the defendant of a material fact in connection
28   with the purchase or sale of a security; scienter; reliance; and causation of economic loss. In re
     Alphabet, Inc. Sec. Litig., 1 F.4th 687, 699 (9th Cir. 2021).

                                              -9-             Case No. No. 3:23-cv-06003-WHO
              BRIEF OF AMICUS CURIAE STATE OF MONTANA IN SUPPORT OF NEITHER PARTY
          Case 3:23-cv-06003-WHO Document 51-1 Filed 02/29/24 Page 11 of 12



 1            Many states have implemented statutory and regulatory regimes that treat crypto assets as
 2   money transmitters. Some states have directly defined money transmitters to include virtual

 3   currencies. See Ala. Code §§ 8-7A-2, 8-7A-5 (license required for money transmission, including

 4   receiving “virtual or fiat currencies”); Conn. Gen. Stat. § 36a-600(c) (companies transmitting virtual

 5   currency face extra scrutiny based on “undue risk of financial loss to consumers, considering the

 6   applicant’s proposed business”); Florida Stat. § 560.204 (money transmitters); Ga. Code § 7-1-

 7   680(30) (“virtual currency” is “a digital representation of monetary value,” bringing virtual currencies

 8   within licensing and regulatory regime for money transmission); see also United States v. Harmon,

 9   474 F. Supp. 3d 76, 89 (D.D.C. 2020) (Bitcoin—and by definition other crypto assets—are “money”

10   for purposes of the D.C. Money Transmitters Act); State v. Espinoza, 264 So. 3d 1055, 1064 (Fla.

11   Dist. Ct. App. 2019) (virtual currencies fall within the money services businesses).

12            Money transmitters are generally required to register and show minimum net worth, sufficient

13   security, and subject themselves to examinations by state regulators.10 State regulatory schemes

14   prohibit, for example, “gross negligence in any transaction by a money services business, regardless

15   of reliance thereon by, or damage to, a customer”; “[f]ailure to maintain, preserve, keep available for

16   examination, and produce all books, accounts, files, or other documents required by this chapter”;

17   and “[i]nsolvency.” Fla. Stat. § 560.114(1)(b), (e), (i). Further, “most licensed money transmitters are

18   examined annually by either multi-state teams or individual states to ensure licensees operate in a safe

19   and sound manner, and in adherence to state and [FinCEN] laws and regulations.”11 These examples

20   of state regulations are commonsense but absent in securities regulation, which does not serve the

21   same purpose. These carefully crafted state regimes are at risk of being preempted.

22                                              CONCLUSION

23            For the foregoing reasons, the court should reject categorizing crypto assets as securities

24   absent an investment contract. The SEC’s exercise of this undelegated authority puts state consumers

25   at risk by preempting state statutes better tailored to the specific risks of non-securities products.

26   10
        See Cong. Research Serv., Telegraphs, Steamships, and Virtual Currency: An Analysis of Money
27   Transmitter Regulation at 3 (Aug. 20, 2020), https://crsreports.congress.gov/product/pdf/R/R46486.
     11
        Conference of State Bank Supervisors & Money Transmitter Regulators Ass’n, The State of State
28   Money Services Business Regulation & Supervision at 9 (2016), https://www.csbs.org/sites/default/f
     iles/2017-11/State%20of%20State%20MSB%20Regulation%20and%20Supervision%202.pdf.

                                               - 10 -          Case No. No. 3:23-cv-06003-WHO
               BRIEF OF AMICUS CURIAE STATE OF MONTANA IN SUPPORT OF NEITHER PARTY
      Case 3:23-cv-06003-WHO Document 51-1 Filed 02/29/24 Page 12 of 12



 1   Dated: February 29, 2024               Respectfully submitted,
 2                                          AUSTIN KNUDSEN
                                            Montana Attorney General
 3
                                            By: /s/ Drew C. Ensign
 4                                          Drew C. Ensign (SBN 243956)
                                            HOLTZMAN VOGEL BARAN TORCHINSKY &
 5                                          JOSEFIAK PLLC
                                            2575 East Camelback Rd, Ste 860
 6                                          Phoenix, AZ 85016
                                            602-388-1262
 7                                          densign@holtzmanvogel.com
 8                                          Counsel for the State of Montana
 9
                                      ALSO SUPPORTED BY:
10
                                        TIM GRIFFIN
11                               ARKANSAS ATTORNEY GENERAL
12                                       BRENNA BIRD
                                    IOWA ATTORNEY GENERAL
13
                                           LYNN FITCH
14                               MISSISSIPPI ATTORNEY GENERAL
15                                      MIKE HILGERS
                                 NEBRASKA ATTORNEY GENERAL
16
                                          DAVE YOST
17                                  OHIO ATTORNEY GENERAL
18                                      MARTY JACKLEY
                                SOUTH DAKOTA ATTORNEY GENERAL
19
                                         KEN PAXTON
20                                 TEXAS ATTORNEY GENERAL
21
22
23
24
25
26
27
28

                                             - 11 -          Case No. No. 3:23-cv-06003-WHO
             BRIEF OF AMICUS CURIAE STATE OF MONTANA IN SUPPORT OF NEITHER PARTY
